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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                       


JOE ESPINOZA AND MARIA ESPINOZA,		        Appellants,


v.


DANIEL M.L. HERNANDEZ, 	Appellee.

                                                                                                                                      




On appeal from the County Court at Law No. 5


of Hidalgo County, Texas.


                                                                                                                      




MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides


Memorandum Opinion Per Curiam


	Appellants, Joe Espinoza and Maria Espinoza ("the Espinozas"), appeal from the
trial court's order granting summary judgment to appellee, Daniel Hernandez.  Hernandez
filed a Motion to Dismiss stating that the matter should be dismissed because the
underlying judgment had been dismissed in bankruptcy court. (1)  A response was requested. 
The Espinoza's response stated that they are not oppose to the motion to dismiss.

	The Court, having considered the documents on file and the unopposed motion to
dismiss the appeal, is of the opinion that the motion should be granted.  See Tex. R. App.
P. 42.1(a).  Appellee's motion to dismiss is granted, and the appeal is hereby DISMISSED. 
Costs will be taxed against appellants. See Tex. R. App. P. 42.1(d) ("Absent agreement of
the parties, the court will tax costs against the appellants.").  Having dismissed the appeal
at the parties' request, no motion for rehearing will be entertained, and our mandate will
issue forthwith.

										PER CURIAM


Memorandum Opinion delivered and 

filed this the 20th day of August, 2009.

1.   In the motion to dismiss, Hernandez states that this Court was advised of the bankruptcy
proceeding.  No notice of bankruptcy appears in the record. 

